     Case 2:07-cr-00178-FVS   ECF No. 37   filed 02/15/08   PageID.89 Page 1 of 1




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                           UNITED STATES DISTRICT COURT
 6                        EASTERN DISTRICT OF WASHINGTON
 7
     UNITED STATES OF AMERICA,                )
 8                                            )    No. CR-07-178-FVS-1
                       Plaintiff,             )
 9                                            )    ORDER GRANTING UNOPPOSED
     v.                                       )    MOTION TO AMEND RELEASE
10                                            )    CONDITIONS
     NATHAN MICHAEL SHIELDS,                  )
11                                            )
                       Defendant.             )
12                                            )

13        BEFORE THE COURT is the Defendant’s unopposed Motion to Amend

14   the Pretrial Release Conditions in the above matter to authorize the

15   Defendant to reside in the Western District of Washington.                     The

16   parties are in agreement to the amendment of pretrial release

17   conditions.

18        IT IS ORDERED the Motion (Ct. Rec. 35) is GRANTED. Defendant’s

19   pretrial release conditions shall be amended to allow Defendant to

20   reside in the Western District of Washington.             All other conditions

21   of pretrial release previously imposed shall remain in full force

22   and effect.

23        DATED February 15, 2008.

24
25                             S/ CYNTHIA IMBROGNO
                          UNITED STATES MAGISTRATE JUDGE
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     ORDER GRANTING UNOPPOSED MOTION TO AMEND RELEASE CONDITIONS - 1
